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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

LAVONNE JINKS-UMSTEAD,

)
)
)
Plaintiff, )
)
Vv. ) C.A. No. 99-2691 GK/JMF
)
GORDON ENGLAND, ) Next Event: Motions in Limine Due
SECRETARY OF THE NAVY, ) November 1, 2005
)
Defendant. )
)

 

PLAINTIFF’S MOTION IN LIMINE TO BAR ORAL TESTIMONY
NOT SUPPORTED BY DOCUMENTS AND EXCLUDE EVIDENCE THAT IS
IRRELEVANT AND/OR CONFUSING AND MEMORANDUM OF
POINTS AND AUTHORITIES IN SUPPORT THEREOF

Plaintiff respectfully requests that the Court bar the Navy from introducing oral testimony
that purports to be based on the contents of documents not produced by the Navy.' Plaintiff also
requests the Court exclude evidence that is irrelevant and/or confusing.

The Navy’s case at the first trial was built in large part on generalized testimony regarding
downsizing elsewhere in EFACHES. Neither Holleran nor Schnakenberg addressed whether there
was any downsizing in the 1102 job series. In addition, the Navy never produced a single document
relating to any down-sizing in the relevant job series, 1102 contract specialists, or that there was a

reorganization that occurred during the relevant time period.

Plaintiff sought consent to this motion, but such consent was not provided.

 

: Plaintiff is filing a separate motion in limine to address what the jury should be

told regarding the Navy’s discovery abuses and spoliation of evidence, Plaintiff's Motion in
Limine for a Jury Instruction on the Navy’s Discovery Abuses and Spoliation of Evidence, or, in
the Alternative, for Partial Summary Judgment.

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INTRODUCTION

During trial, the Court ruled that Ms. Jinks-Umstead established a prima facie case for both
her discrimination and retaliation claims. Those rulings are the law of the case.

The Navy’s defense to Ms. Jinks-Umstead’s prima facie case of discrimination and
retaliation was based on the unsupported claim that the Work in Progress (“WIP”) Reports justified
denying Ms. Jinks-Umstead support from contract specialists in job series 1102 or depriving her of
her supervisory status. The Navy also claimed there was a reorganization of EFACHES contracting
operations, but produced no evidence that any person with authority actually ordered such a
reorganization related to the contracting duties and responsibilities of Ms. Jinks-Umstead that
occurred during the relevant time period. Neither of these defenses was supported by credible
admissible evidence.

In fact, as military bases closed, and facilities were transferred, the downsizing elsewhere in
the Navy generated more work for the contract specialists in the 1102 job series. Much of the
Navy’s trial evidence is irrelevant or otherwise inadmissible because this evidence fails to address
the precise question of staffing or downsizing in plaintiff's 1102 job series. Similarly, testimony
about downsizing or reorganizations that did not affect the 1102 job series is equally irrelevant.
Generalized testimony regarding downsizing that did not affect this particular job series would
simply distract or confuse the jury.

There is no real dispute that Ms. Jinks-Umstead was transferred to Carderock because the
Navy had a legitimate business reason for having a supervisory contract specialist stationed at
Carderock supervising at least three contract specialists in the 1102 job series and a legitimate

business reason for having a total of four contract specialists in the 1102 job series [incuding Jinks-

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Umstead] at Carderock. In fact, prior to offering the position to plaintiff, the Navy actively recruited
and interviewed for the supervisory contract specialist position at Carderock.

During her trial testimony, Ms. Jinks-Umstead testified that the amount of contracting work
at Carderock was objectively measurable both in terms of contract dollars and, more importantly,
the number of contracting actions. Ms. Jinks-Umstead also testified that the contracting workload
was constant throughout the time of her assignment to Carderock and that as she lost her staff, she
was required to do their work. Ms. Jinks-Umstead also testified that her workload was different and
more difficult than that of other contract specialists because her customers were located around the
country. £.g., Trial Transcript, June 25, 2003 a.m. at 53-54, Docket # 339.

Plaintiff also testified that Isabell Watts, an African-American woman in the 1102 job series
left Carderock to take another position at NASA because Holleran refused to allow Watts to be
promoted. The Navy refused to provide Ms. Jinks-Umstead with any replacements who had the
necessary training and skills in the 1102 job series.

Review of the trial transcript indicates that Navy witnesses testified regarding numerous
matters that were either irrelevant or allowed the agency to benefit from its failure to comply with
its Initial Disclosure and discovery obligations.

For the reasons set forth below, we respectfully request the Court bar the Navy from
introducing evidence or oral testimony regarding:

1. Evidence regarding any job series other than Ms. Jinks-Umstead’s job series, 1102

contract specialists;

2. Evidence that there was any downsizing in job series 1105 and 1106;

3, Evidence there was any substantial change in the workload at Carderock during the

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entire relevant time period from February 19, 1997, when Ms. Jinks-Umstead
reported to Carderock until October 10, 1999,

4, Evidence that the workload at Carderock was not sufficient fo support four contract
specialists during the entire relevant time period.

5. Evidence that there was a hiring freeze on 1102's at EFACHES or any restriction on
hiring 1102's or a command decision not to replace any staff in the 1102 job series.

6. Evidence that there was any reorganization or organizational realignment involving
contract specialists in the 1102 job series during the relevant time period prior to
October 10, 1999.

7. Evidence that the Navy sought to place plaintiff in a position as a labor relations
specialist working for Diane Truman.

8. Evidence that there was any downsizing in the 1102 job series or any consideration
of a reduction in force, or that EFACHES was in any way motivated by a desire not
to subject Jink-Umstead to a RIF.

9. Evidence that any decision was made to “roll up” Carderock into Bethesda during the
relevant time period

10 Evidence that Sheer accepted a downgrade, because he was not an EFACHES

employee.

 

3 Ms. Jink-Umstead filed suit on October 12, 1999. For the sake of simplifying the
issues at trial, plaintiff will limit her claim as of October 10, 1999. According to documents
produced by the Navy in 2005, EFACHES included contract specialists from Public Works on its
rolls, effective October 10, 1999.

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BACKGROUND
I. Factual Background

The Navy assigned Ms. Jinks-Umstead to Carderock as a result of a settlement of her claims
arising out of events at Quantico.’ Capt. Sabbatini told Ms. Jinks-Umstead that the assignment
would be a career-enhancing opportunity. Trial Transcript, June 25, 2003, a.m. at pp. 97-99, Docket
#339,

In 1997, the Navy staffed the Carderock office with four employees in the relevant job series,
i.€., 1102 contract specialists. In September, 1997, just before Delores Adams left Carderock, there
were four contract specialists in job series 1102 who were stationed at Carderock. These contract
specialists were Delores Adams, Isabell Watts, Janice Washington and plaintiff. Ms. Jinks-Umstead
supervised these contract specialists as a supervisory contract specialist. Trial Transcript, June 25,
2003, 15-30, Docket #339.

At trial, Patricia Holleran, who was in charge of calculating the staff levels based on the
amount of work performed, admitted that there was enough work at Carderock to justify assigning
four contract specialists to Carderock in 1997, Trial Transcript, June 27, 2003, a.m. at 33, 34
(Docket #330).* Trial Transcript, June 26, p.m. at 76, Docket # 329.

Holleran agreed that the minimum of contracting work for which the Carderock office was

available during FY 1997 was $3.5 million per year. Trial Transcript, June 26, p.m. at 80, 92, 106,

 

; On summary judgment, the Court ruled that events at Quantico are no longer part

of this litigation.

4 Holleran was evasive when asked about which EFACHES field offices had
reductions in 1102's. Trial Transcript, June 27, 2003, a.m. at 32-33, (Docket #330). Documents
produced by the Navy on June 6, 2005 demonstrated that EFACHES continued to hire contract
specialists in the 1102 series.

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107, 108, Docket #329.

In February 1998, plaintiff filed her initial complaint of discrimination. At the same time,
she sought a mediated resolution to this dispute. Those EFACHES officials and attorneys who
participated in mediation, z.e., Holleran and Chalfant, were fully aware of the workload issues raised
by plaintiff. See Defendant’s Summary Judgment Exhibit 22, which is attached hereto as Exhibit
A. As Ms. Jinks-Umstead testified at trial, the workload did not change during the time she was
assigned to Carderock. In its responses to plaintiff's request for production of documents, the Navy
also represented that the workload at Carderock did not, in fact, change.°

On April 13, 1999, plaintiffs supervisors Holleran and Schnakenberg prepared an “Answer”
to plaintiffs administrative EEO Complaint representing to the Navy’s EEO office that the staffing
levels for EFACHES field offices “are based on the number of contracting actions and the dollar
value of the ‘work in place’ for contracts.” Exhibit A. This representation was prepared with the
assistance of agency counsel Chalfant, Holleran June 24, 2004 Deposition at p. 83, and was signed
by both of plaintiff's supervisors, Patricia Holleran, and by her second level supervisor, Norma Jean
Schnakenberg. Exhibit A.

The administrative “Answer” is a written acknowledgment that documents relating to Ms.
Jinks-Umstead’s work load at Carderock were relevant and, indeed, the workload documents were
the key to the Navy’s claimed defense that there was a legitimate business justification for the

actions taken against Ms. Jinks-Umstead, i.e., there was a reduction in the number of contracting

 

5 Plaintiff sought in Request #55: “Any and all documents detailing the decision(s)

to keep Plaintiff Jinks-Umstead at the Carderock Office after the workload had shifted to the

NFO at Bethesda.” The Navy responded by stating: “Defendant objects to this document request
as vague and ambiguous because it is lacking in foundation. Plaintiff’s workload did not shift
as the document request assumes.” (Emphasis added). Docket # 280.

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actions and/or dollar value of the work in place for contracts. Exhibit A.

On October 7, 8, 1999, Holleran met with the EEO Investigator who was investigating
plaintiff s complaints of discrimination and retaliation. Trial Transcript, June 27, 2003, at 8 et seq.,
Docket # 330. Holleran told the EEO investigator that she had staffing sheets that indicated the
dollar value for contracting working done at the EFACHES field offices. The staffing sheets
projected projects for the coming year for each EFACHES field office. There was one page for each
fiscal year. These documents would allow comparison to the total amount of work performed by
each contract specialists in job series 1102 for each year fiscal year 1996 to 1999.° Trial transcript,
June 27, 2003 at 8-12.

Holleran promised the EEO Investigator she would provide copies of these documents. She
did not do so and these documents were never produced in discovery. Trial transcript, June 27, 2003
at 8-19, Docket #330.

Holleran’s boss, Norma Jean Schnakenberg testified at trial that the staffing decisions were
99 percent quantitative. Trial transcript, June 27, 2003 at 119. Thus, documents relating to the
Carderock workload are absolutely essential to demonstrating pretext and to disproving the Navy’s
claimed oral defense that there was a legitimate business reason for the adverse actions taken against
Ms. Jinks-Umstead.

On June 6, 2005, the Navy produced approximately 983 pages of the requested documents

in hard copy or on CDROM. The June 6, 2005 production of documents underscores that the Navy’s

 

6 Holleran testified that she called these figures work in place, but insisted these

were not really work in place. Trial transcript, June 27, 2003 at p. 12.

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discovery abuses extend far beyond the refusal to produce any WIP Reports prior to the first trial.’
B. Representations During Initial Disclosure and Discovery

This is an employment discrimination lawsuit brought by LaVonne Jinks-Umstead against
the Navy that will have to be tried for a second time because agency officials failed or refused to
produce documents relevant to the workload and staffing at EFACHES, including Carderock field
office, where plaintiff was assigned.*

The Navy did not provide in its Initial Disclosures any WIP Reports or related documents
explaining the staffing decisions. Nor did the Navy ever include in its Initial Disclosures documents
describing any reorganization involving Ms. Jinks-Umstead’s job series was implemented prier to
the time she filed suit. In particular, the Navy did not provide in its Initial Disclosures the documents
Holleran promised to the EEO investigator.

Plaintiff requested documents relevant to these issues in discovery on June 12, 2000, more

than three years prior to trial. In her Second Request for Production of Documents, Request # 76,

 

7 For example, EFACHES maintains a document entitled “EFA Chesapeake

Manpower Listing,” but the Navy produced one copy of this document that is dated November
13, 1997. Had the Navy provided all such documents, plaintiff would have been able to compare
the number of supervisory contract specialists in the 1102 job series assigned to Carderock with
the 1102 personnel assigned to other EFACHES’s offices throughout the entire time period at
issue.

The Navy produced documents entitled “EFA Chesapeake CIVPERS Projections” for the
period January, 1999 through October, 1999. This documents identifies the persons in the 1102
series who left or were hired by EFACHES. If plaintiff had these documents for 1997 and 1998,
Ms. Jinks-Umstead could have demonstrated to the jury that, notwithstanding generalized
testimony about down-sizing, EFACHES actually hired 1102 contract specialists during the
relevant time period and could have assigned the new hires in the 1102 job series to Carderock.

8 During the relevant time period, the WIP Reports were stored a short distance

from Holleran’s office. Memorandum Opinion, February 6, 2004 at p. 4, n. 1.

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plaintiff requested: “Each and every document relating to WIP (Work in Progress), which were used
or referred to in connection with decisions regarding staffing contract personnel at any field office
in EFA Ches.” On August 4, 2000, the Navy responded by stating: “See objections and response
to document request 77.” Docket # 280.
In her Second Request for Production of Documents, Request #77, plaintiff requested:

“Any other document used or referred to in connection with decisions regarding the staffing of
contract personnel at any field office in EFA Ches.” On August 4, 2000, the Navy responded by
stating:

Defendant objects to this document request as irrelevant, overly

broad, unduly burdensome, oppressive, and not reasonably calculated

to lead to the discovery of admissible evidence insofar as it seeks all

documents relating to staffing of field offices where or when plaintiff

did not work at those offices. Subject to and without waiver of this

objection and the foregoing general objections, which are

incorporated by reference herein, the documents used to determine

staffing levels are werk in place (“WIP”) reports. However,

defendant does not retain or have a repository for historical work in
place (“WIP”) reports. (Emphasis added)

Docket # 280. Plaintiff requested these relevant documents more than three years before the first
trial.
Plaintiff's discovery requests included Interrogatory # 4. This Interrogatory requested the

Navy to:

Identify each and every document requested in Plaintiff's First

Request for Production of Documents, or any subsequent Request for

Production of Documents, which has been destroyed, or has not been

produced pursuant to the Rules of this court. Include in your answer

the identity of the person who destroyed such document and why this

document was destroyed or not produced.

On August 4, 2001, the Navy responded as follows:

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Defendant incorporates by reference his objections to each of
plaintiff's document requests and statements of what categories of
documents he will produce in response to those requests and the
conditions under which he will produce documents in those
categories. Subject to and without waiver of these objections and the
foregoing general objections, which are incorporated by reference
herein, defendant is not aware of non-privileged, discoverable,
documents within those categories which have been destroyed or
which defendant has not produced or will not produce or make
available for inspection and copying at the first mutually
convenient opportunity when then conditions are met, other than
such documents identified in the responses to the documents requests.
Docket # 277.

The Navy’s discovery responses contained at least four separate representations that are

important for the purposes of this motion. First, the Navy represented that:

1. All of the documents “used or referred to in connection with decisions regarding the
staffing of contract personnel at any field office in EFA Ches” fall within the scope
of WIP Reports;

2. None of the historical WIP Reports were retained;

3, The Navy had not destroyed any documents requested by plaintiff, either as part of
an alleged document destruction policy or otherwise; and

4, The Navy had not failed to produce any documents for any other reason.

The Navy’s representation that “WIP Reports” were the only documents responsive to

plaintiff's discovery requests was false. Holleran was fully aware that electronic “WIP Reports”
continued to be available in the computer mainframe (“FIS”). Holleran even had an “icon” for FIS

on her desktop computer. Holleran Deposition, June 28, 2004, at 27-28 Docket #287. Holleran

prepared [and had knowledge of] numerous budget and planning documents other than the WIP

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Reports that were responsive to plaintiff's document requests. Id. at 100, 110, 200.
Ill. Continuing Misrepresentations

After providing those false and/or misleading Initial Disclosures and discovery responses,
defendants continued to insist workload documents, including WIP Reports, did not exist. On
January 11, 2002, Holleran signed a Declaration under penalty of perjury that the following
statement was “true and correct.” “One of the matters I addressed in the Letter? was the use in
determining EFACHES field contracting office staffing of the number of contracting actions and the
dollar value of the “work in place,” or WIP,” for contracts. This information is compiled in WIP
Reports which are used to determine staffing levels. EFACHES does not retain or have a repository
for historical work in place (“WIP”) Reports. Jd. ‘° Exhibit B.

The Navy even filed a Motion in Limine to prevent Ms. Jinks-Umstead from arguing
spoliation to the jury and to prevent the jury from learning that the Navy refused to produce in
discovery the documents on which the Navy’s entire defense rested. Docket #117.

In opposing Plaintiffs Motion in Limine Regarding Spoliation and in Support of Defendant’s
Motion in Limine, the Navy argued it would be unfair to require the Navy to bear the consequences
of its destruction of relevant documents. The Navy filed its Consolidated Reply in Support of

Defendant’s Motion in Limine to Exclude Proposed Evidence of Alleged Document Destruction and

 

? The Letter to Rudy Sarmiento to which Holleran refers is Defendant’s Summary

Judgment Exhibit 22, which was prepared as EFACHES’s “Answer” to plaintiff's administrative
charges of discrimination and retaliation, which is Exhibit A.

10 The January 11, 2002 Declaration was prepared in response to Plaintiff's Motion
to Strike Navy Exhibit # 22, Docket # 70, on the grounds it was not admissible under the
business records exception to the rule on hearsay. The Declaration was first filed with
Defendant’s Opposition to Plaintiff's Motion to Strike on January 14, 2002. Docket #78. Judge

Kessler granted Plaintiffs Motion to Strike. Docket # 90.

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Spoliation and Opposition to Plaintiff's Motion in Limine to Bar Defendant From Presenting Oral
Testimony Concerning Documents Defendants Allegedly Spoliated and Did Not Produce. Docket
#139; Docket #140 (July 26, 2002) (representing to the Court that the January 11, 2002 Holleran
Declaration was correct and that the “old” WIP Reports really are discarded “when a new one is
prepared.”).

1V. Post-Trial Discovery

Plaintiff conducted five post-trial depositions to determine why she was not provided relevant
documents. Ms. Jinks-Umstead sought to determine the factual basis for the actions taken against
her by the Navy and to determine the circumstances under which the false January 11, 2002,
Holleran Declaration was prepared and filed with the Court in an effort to deny plaintiff a trial of her
claims.

A. Fact Witnesses

Plaintiff deposed Diane Carney on July 13, 2004. Carney was the EFACHES computer
program analyst whose expertise with the FIS data base enabled her to generate every imaginable
programmed report, query, or EXCEL spreadsheet from the computerized FIS data base. Carney
Deposition at pp. 155-160, 189-191, Docket #338.

Carney testified that it was common knowledge in EFACHES that she was the “go to” person
for FIS to generate WIP Reports or other arrays of data. Camey testified that Holleran knew that
Camey had the ability to generate WIP Reports and EXCEL spreadsheets from the FIS data base.
In fact, Carney had generated many such reports for Holleran from FES in the past and had also
provided data to Schnakenberg, Holleran’s supervisor. Carney Deposition at 61-63, 112-114, 160,

167-168, 173, 189-205. Carney’s testimony demonstrates that Holleran knew the existence of much,

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if not all, of the discovery requested by plaintiff was common knowledge at EFACHES.

On June 28, 2004, plaintiff deposed Patricia Holleran, the agency official who, according to
her supervisor, was charged with the responsibility for making the staffing decisions affecting Ms.
Jinks-Umstead. Holleran Deposition, at pp. 22,29, Docket #287.

Holleran testified that she destroyed the hard copies of some of the documents she relied
upon to make staff decisions. Holleran also testified that she provided some documents to
Schnakenberg and other EFACHES officials. E.g, Holleran Deposition, at pp. 80, 100, 110.

Holferan disclosed for the first time during her June 28, 2004 deposition that she created
additional documents containing workload, staffing and budget information as part of the decision-
making process during the relevant time period. Holleran Deposition at pp. 143, 153.

None of these workload, staffing and budget documents had been previously identified in the
Initial Disclosures or in the Navy’s discovery responses. None of these workload, staffing and
budget documents were produced in response to plaintiff's discovery requests prior to trial. Indeed,
the existence of these documents is contrary to the Navy’s explicit representation in response to
Plaintiff's Document Request #77 that the documents requested by plaintiff were WIP Reports.

Holleran admitted under oath that she knew the data printed on paper WIP Reports were
contained in the FIS data base. Holleran admitted she often requested such data from Diane Carney
during the relevant time period and that Carney provided such information to her, often in the form
of EXCEL spreadsheets. Moreover, in addition to obtaining information from FIS data base through

Carney, Holleran even had direct access to FIS through her desk top computer.'’ Holleran

 

a. The Navy continues to mislead the Court by stating that: “At the time of

Defendant’s August, 2000 response, neither counsel nor Holleran was ‘aware’ of the ‘WIP’
Reports produced at trial.” Supplemental Answer to Plaintiff's Interrogatory # 4 at p. 2,n 1,

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Deposition at 27-35, 43-45, 65.

Of particular import is Holleran’s testimony regarding the January 11, 2002, Declaration.
Holleran testified at trial that she could not remember the name of the attorney who drafted the
January, 2002, Declaration. However, at her deposition, Holleran suddenly remembered that former
EFACHES counsel Chad Miller assisted in the preparation of that Declaration.” Holleran
Deposition at pp. 245, 249, 312.

B. Agency Counsel

On May 3, 2004, plaintiff deposed Patricia Chalfant, who was formerly the first lead counsel
in the defense of this case. Chalfant worked closely with Holleran in preparing Defendant’s
Summary Judgment Exhibit 22 prior to its submission to the Navy’s EEO Office. Chalfant May 3,
2004 Deposition at pp. 74-80, Docket # 274.

Chalfant testified on numerous occasions that she did not know or could not remember the
answer to plaintiff's questions. See e.g., Chalfant Deposition at pp. 36, 43. Chalfant’s recollection
may have been impaired by the fact that she did not review the extensive files she left at EFACHES.
Chalfant Deposition at p. 56. Chalfant’s notes were never produced and were never identified on
the Navy’s privilege log, or in any of the Answers to Plaintiffs Interrogatory # 4.

As lead agency counsel Chalfant was charged with preparation of the Navy’s discovery
responses in this litigation and she worked with Patricia Holleran and Cecilia Mohammed, another

EFACHES employee, to prepare the Navy’s responses to plaintiff's discovery requests, Chalfant

 

Docket # . Holleran clearly knew that the data of the WIP Reports were available on FIS.

0 This testimony came in response to a question from Judge Facciola after the

parties had telephoned him for a resolution of an issue of attorney-client privilege.

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Deposition at pp. 15-16. Chalfant testified she could not remember any of the people she talked to,
even though she remembered they held many meetings on responding to plaintiffs discovery
requests, Chalfant Deposition at pp.17, 18. Chalfant admitted that she understood WIP reports were
central to the litigation. Chalfant Deposition at p. 52. Chalfant claimed she did not know why the
WIP Reports were not found or produced in discovery prior to trial. Chalfant Deposition at p.10.
Chalfant claimed to have no recollection of the specifics around the composition and the
preparation of Defendant’s Answers to Plaintiff's First Interrogatories. Chalfant Deposition at p. 21
The following testimony on the key question of the representation that the WIP Reports did

not exist is instructive, particularly in light of the fact she was the lead agency counsel working on
the case:

10 Q Did you write the statement that the

11 defendant does not retain the WIP reports?

12 A Ido not remember.

13 Q What efforts did you make, if any, to

14 find out whether that statement was true?

15 A I don't remember.

16 Q. Did you work on that particular

17 response?

18 A I don't remember specifically. I'm

19 certain that I did work on this response, but I

20 don't have any specific memory different from my

21 memory of the other responses.

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22 Q We know today that that statement in
1 there is not true, don't we?
2 MR. FIORE: Objection. This witness
3 may not know, and it's not necessarily a statement
4 of fact. That's your argumentative position.
5 BY MR. KARL:
6 Q You can answer.
7 A I don't know.
Chalfant Transcript at pp. 49-50.

On June 24, 2004, plaintiff deposed Chad Miller, the agency attorney who succeeded
Chalfant. Miller was agency counsel assigned to this case at the time Holleran executed the January
11, 2002, Declaration. Miller faxed the executed Declaration to AUSA David Ball. Miller denied
under oath that he played any role in the preparation of the false Declaration, but “probably had her
sign it.” Miller testified he does not remember reviewing the Declaration for accuracy or reviewing
it with Holleran. Miller Deposition at pp. 222-225 249-252, 264-266, Docket #337.

Plaintiff also deposed Cindy Guill, the attorney who supervised Chalfant and Miller during
the relevant time period. Guill took over representing EFACHES when Miller left EFACHES in
approximately April, 2002. Guill attended the first trial as agency counsel.

Guill testified that she had conducted no investigation of the circumstances surrounding the
Navy’s failure to produce relevant documents. Guill Deposition at pp. 19-20, Docket #273. Guill
stated that she took no responsibility for the discovery failure and she had no interest in finding out

the reasons why the Navy failed to comply with the discovery provisions of the Rules or why the

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Navy’s conduct necessitated a second trial. Guill Deposition at pp. 32, 41.

In fact, Guill took no action to discipline or criticize any person for the discovery “failure”
that occurred on her watch. Guill Deposition at p.104. Guill claimed she did not remember any
conversations with Holleran about discovery issues and Guill never asked Holleran why she did not
produce the WIP Reports. Guill Deposition at pp. 23-24. Nor did Guill have any recollection about
any conversation with Chad Miller about the discovery “failure.” Guill Deposition at pp. 40-41. In
Guill’s view, no one is responsible.**

Guill claimed she did not remember reviewing any of the relevant discovery responses and
pleadings. Guill Deposition at pp. 14-15. Guill had no knowledge of the identity of the persons
responsible for the preparation of those documents.'* Guill Deposition at pp. 14-15. Guill claims
she does not know why WIP Reports were not produced. Guill Deposition at p. 50.

Guill claims she had no knowledge regarding the preparation of the January 11, 2002,
Holleran Declaration, even though this was critical to the Navy’s case and to its attempt to seek
summary judgment. Guill Deposition at pp. 97-98.

We submit that the conflict between Holleran’s testimony on the preparation of the January

 

8 The Navy claims that Patricia Chalfant’s April 19, 2004 e-mail to Cindy Guill, #
00654, was privileged. Judge Facciola ruled that this e-mail exchange includes “one sentence
that is protected by the attorney-client privilege.” August 24, 2005 Memorandum Op. at 7. The
fact of a claim of attorney-client privilege with respect to this e-mail exchange suggests greater
involvement by Guill in responding to plaintiff's document requests. As set forth in detail in
Plaintiff's Motion to Reject Claims of Attorney-Client and Work Product Privileges and
Memorandum of Points and Authorities at 13-14, there can be no attorney-client privilege
between agency counsel and an ex-employee.

4 Chalfant, on the other hand, testified that her supervisor Cindy Guill reviewed the

Navy’s discovery responses. Chalfant Deposition at p. 56.

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11, 2002 Declaration and that of Miller are irreconcilable. The evidence shows that one or both of
these witnesses gave inaccurate testimony regarding the origins of and preparation of the January 11,
2002 Declaration.

On June 6, 2005, the Navy produced approximately 983 pages of documents. These
documents were not numbered and were not organized in any particular fashion. The Navy’s June
6, 2005, production was not even accompanied by a cover letter. The Navy still has not produced
the documents Holleran described to [and promised to provide to] the EEO Investigator. Nor has
the Navy produced all of the documents responsive to plaintiffs discovery requests.'> The Navy has
refused to identify that documents requested by plaintiff were destroyed, or otherwise not produced
in answering Interrogatory # 4.

ARGUMENT
I. Relevant Legal Principles
A. Fed.R.Civ.P.26 and 37

When this case was filed on October 12, 1999, Rule 26(a}(1)(B) required the Navy to
disclosure
“a copy of, or a description by category and location of, all documents, data compilations, and
tangible things that are in the possession, custody, or control of the party that the disclosing party

may use to support its claims or defenses, unless solely for impeachment.”'* (Emphasis added).

 

» It appears from the June, 2005 production of documents that there are numerous

categories of documents that the Navy has still failed or refused to produce.

16 The 2000 amendments replaced the language in bold with the following: “and that

the disclosing party may use to support its claims or defenses, unless solely for impeachment.”
Since the duty to disclose arose under the prior version of the Rules, there is no reason to apply
the amended rule.

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Under the 1993 amendments to Rule 26, the Navy was obliged to disclosure all “potentially relevant
items then known to the party, whether or not supportive of its contentions in the case.” Advisory
Committee Notes Rule 26(a)(1).

Rule 37(c)(1) provided that “a party that without substantial justification fails to disclose
information required by Rule 26(a) ... is not, unless such failure is harmless, permitted to use as
evidence at trial ... any witness or information not so disclosed.”

Rule 37 is self-executing. No motion to compel is necessary. If the document should have
been produce under rule 26 and was not, it must be excluded unless the Navy shows that the failure
to produce was justified or harmless. Continental Lab. Prods, Inc. v. Medax International, Inc., 195
F.R.D. 675, 677 (S.D. Cal 2000).

Allowing Holleran, Schnakenberg or other Navy officials to testify regarding the contents
of documents the Navy was required to disclose, but did not disclose, would undermine the purposes
of Rule 26 and Rule 37. Ifthe Navy can not “use as evidence at trial ... any witness or information
not so disclosed,” allowing Navy witnesses to testify about the alleged contents of undisclosed
documents at the second trial would also be unfair to plaintiff. In the absence of documents
regarding a myriad of issues, including staffing and workload at Carderock, plaintiffis hampered in
effectively challenging Holleran’s and Schnakenberg’s oral testimony. The Navy has offered no
justification for its failure to produce relevant documents and has not bothered to attempt to make

any showing that its failure to comply with the Initial Disclosure requirements is “harmless.”

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B. Plaintiff?s Discovery Requests

Plaintiff submitted 109 Requests for Production of Documents.’ Plaintiff served
Interrogatory #4 that requested identification of all documents destroyed or not otherwise produced
by the Navy.’® In view of plaintiff's discovery requests, the Navy produced surprisingly few
documents.

At the first trial, defendants had few documents to support their claims of reorganization and
down-sizing. These documents related to an earlier time period and job series other than the 1102
contract specialists at issue in this litigation. The Court subsequently ruled that a number these
documents should not have been admitted into evidence at all. Memorandum Opinion, February 6,
2004 at p. 4-5.

Since ours is a government that runs on paper, there is a strong inference that the Navy
simply refused to produce the documents requested by plaintiff. The Navy’s refusal to properly
supplement its Answer to Plaintiffs Interrogatory #4 supports an inference of widespread violation
of the Navy’s discovery obligations. Generalized references to document retention policy and the
inclusion of five footnotes in a sworn Answer to Interrogatory #4 is prima facie evidence of

noncompliance with the discovery rules.

 

" The Navy’s responses to Plaintiff's First Requests for Documents were filed with

the Court on July 2, 2004, Docket #279. Defendant’s Responses to Plaintiff's Second Request
for Production of Documents are Docket #280.

8 Defendant’s initial Answers to Interrogatories were filed with the Court on July 2,

2004, Docket #277. Defendant’s Supplemental Answer to Interrogatory # 4 was filed with the
Court on July 8, 2004, Docket #281.

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C. Best Evidence Rule

Allowing oral testimony about the contents of documents not produced by the Navy violates
the Best Evidence Rule. Fed.R.Evid 1002. This is contrary to the Best Evidence Rule, Fed.R.Evid
1002 which provides: “To prove the contents ofa writing. . . , the original writing... . is required.”
The Navy is seeking to use oral testimony to substitute for statements and documents which the
Navy claims exist, which defendant failed to produce in its Initial Disclosures or in discovery.
Defendant has failed to provide the court with documents demonstrating that a reorganization
actually occurred in1999 and allowing the Navy to circumvent its failure and refusal to produce these
documents is contrary to the Best Evidence Rule. Conway v. Consolidated Rail Corp., 720 F.2d 221,
224 (1* Cir. 1983), cert. denied, 466 U.S. 937 (oral testimony regarding railroads rules and
regulations was properly excluded); Ridgway v. Ford Dealer Computer Servs., Inc. 114 F.3d 94, 97-
98 (6" Cir, 1997) district court could have excluded plaintiff s oral proof regarding the employment
contract on best evidence grounds); Gassaway v. Gassaway, 489 A.2d 1073, 1074-1076, n. 4 (D.C.
1985) (testimony regarding unproduced deed is not admissible).

The U.S. Court of Appeals for the Ninth Circuit ruled that a customs officer’ s oral testimony
about display data was barred by the “best evidence rule.” United States v. Bennett, 363 F.3d 947,
953-954 (9" Cir. 2004). Allowing oral testimony regarding the contents of these documents would
violate the best evidence rule as interpreted by the Ninth Circuit in Bennett.

We respectfully request the Court to revisit its ruling on the Best Evidence Rule in view of

the more fully developed factual record." The record from the first trial and the post-trial discovery

 

9 Plaintiff made a similar argument before the first trial on a less developed factual

record prior to the issuance of the decision from the Ninth Circuit discussed below that was
rejected by this Court. Order, February 24, 2003 at 2-3, n. 3.

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conducted by plaintiff demonstrates that existence of documents that were never produced by the
Navy. Although the Navy denied that documents responsive to plaintiff's document requests did not
exist, the production of additional documents during trial, after plaintiff rested her case, the
production of hundreds of pages documents in June, 2005, and the Navy’s refusal to identify
documents not produced in its Answer to Plaintiff's Interrogatory # 4 demonstrate the existence of
documents on which Holleran and Schnakenberg testified at the first trial.
D. Relevance
Rule of Evidence 401 defines relevant evidence as “evidence having any tendency to make
the existence of any fact that is of consequence to the determination of the action more probable or
less probable than it would be without the evidence.” As we show below, much of the evidence
Holleran and Schnakenberg gave at the first trial does not satisfy this definition of relevance.
E. Rule 403
Rule 403 of the Federal Rules of Evidence provides that
Although relevant, evidence may be excluded if its probative
value is substantially outweighed by the danger of unfair prejudice,
confusion of the issues, or misleading the jury, or by considerations
of undue delay, waste of time, or needless presentation of cumulative
evidence.
Even if the categories of evidence discussed below are marginally relevant, such evidence should
be excluded because any probative value is substantially outweighed by the danger of “confusion of
the issues or misleading the jury.” Allowing the Navy to introduce evidence in the categories
described below would also cause “undue delay” and a “waste of time.”

F. Hearsay

Rule 801 (c) defines “hearsay” as “a statement, other than one made by the declarant while

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testifying at trial or hearing, offered in evidence to prove the truth of the matter asserted.” Rule 802
provides that hearsay is not admissible and the statements at issue here do not fall within any of the
exceptions set forth in Rule 803 or Rule 804.
il. Application of Legal Principles

We apply below the legal principles discussed above to the categories of evidence we believe

should be excluded.
A. Evidence Regarding Other Job Series

While it was undisputed that the Navy was downsizing in certain locations and in certain job
series, the downsizing elsewhere in the Navy led to increased work for contracts specialists in the
1102 job series. It is also undisputed that the Navy was in the process of phasing out clerical and
technical employees in the 1105 and 1106 job series as their functions were becoming automated.
Evidence regarding other job series should be excluded at trial because it is irrelevant and has
nothing to do with the contracting workload for contract specialists or the workload at Carderock.

This evidence should also be exclude under Fed.R.Evid. 403 because the probative value of
testimony regarding other job series is substantially outweighed by the danger of “confusion of the
issues or misleading the jury,” because there is a danger that the jury would confuse the work
performed by personnel in the 1105 and 1106 job series with that performed by contract specialists
in the 1102 job series Allowing the Navy to introduce evidence regarding other job series would also
cause “undue delay” and a “waste of time.”

B. Testimony Claiming Substantial Changes in the Carderock Workload

and Staffing Needs

As Jinks-Umstead testified at trial, the workload did not change during the time she was

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assigned to Carderock. Holleran, on the other hand, sought to justify her actions by claiming at trial
there were substantial changes in the workload at Carderock. Trial transcript, June 26, 2003 p.m.
Docket #329. However, the Navy never provided the documents upon which Holleran relied in
making her staffing decisions.

The Court should bar the Navy from introducing any testimony claiming there were
substantial changes in the Carderock workload for several reasons. The first is that in its responses
to plaintiffs request for production of documents, the Navy also represented that the workload at
Carderock did not in fact change.”

Plaintiff conducted her subsequent discovery in reliance on the representation that the
workload did not shift to Bethesda. The Navy should not be allowed to change its position on this
important issue more than five years after responding to plaintiff s requests for documents and more
than #we years after the first trial.

The second reason for barring such testimony is that allowing Holleran to give self-serving
oral testimony where the Navy refused to produce the underlying documents would reward
Holleran’s actions in destroying the documents she used in responding to the plaintiff's
administrative complaint and documents she promised to provide to the EEO investigator in October,
1999, just before plaintiff filed suit. Allowing such testimony would reward the Navy’s failure to
comply with its mandatory obligations to comply with the Initial Disclosure requirements and the

discovery provisions.

 

20 Plaintiff sought in Request # 55: “Any and all documents detailing the decision(s)

to keep Ms. Jinks-Umstead at the Carderock Office after the workload had shifted to the NFO at
Bethesda.” The Navy responded by stating: “Defendant objects to this document request as
vague and ambiguous because it is lacking in foundation. Plaintiff's workload did not shift as
the document request assumes.” (Emphasis added).

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The court should not allow testimony that there was a change in the workload or staffing
needs at Carderock.*!

C. Testimony Regarding Numbers of 1102's in EFACHES

At various times during trial, the Navy counsel argued or Navy witnesses testified that there
was a hiring freeze or restrictions on hiring 1102's and/or that there was a command decision not to
replace any 1102's. Navy witnesses also suggested there was downsizing in the 1102 job series.
Holleran claimed there was a command decision not to replace staff, but that decision was never
issued in writing. Trial Transcript, June 26, 2003 p.m. 130-131, Docket # 329.

First, the Navy never produced any documents to support the claim that there was a reduction
in the need for or in the number of 1102's. Holleran testified at trial the EFACHES continued to
hire 1102 contract specialists. Documents produced in June, 2005 confirm that EFACHES hired
1102's during the relevant time period.

But the Navy refused to produce staffing documents showing hiring of the 1102's during
1997 and 1998. As aresult of defendant’s spoliation of documents, plaintiffis unable to demonstrate
the extent of hiring of 1102 contract specialists. Allowing the Navy to claim a hiring freeze and
restrictions on the hiring of 1102's in light of the incomplete document production would reward the
agency for its failure to comply with the Initial Disclosure requirements and the destruction of
relevant documents. Allowing self-serving testimony by Holleran and Schnakenberg on these points
would reward them for failing to comply with their disclosure and discovery obligations.

Second, allowing the Navy to present testimony on these issues would violate the “Best

 

4 Since there was no change in the workload and since the staffing decisions were

99 percent quantitative, Schnakenberg testimony, tral transcript, June 27, 2003 at 119, it follows
there was no objective change in the staffing needs at Carderock

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Evidence Rule, as discussed above.

Third, allowing the Navy to present testimony through Holleran and Schnakenberg that there
was an oral command decision not to replace staff in the 1002 job series would violate the rule
against hearsay.”

D. Festimony Regarding Mock RIF

Holleran testified at trial that there was a connection between the Navy’s failure to provide
1102 support to plaintiff and the possibility that the Navy might conduct a RIF. The implication of
the testimony was that the Navy was looking out for Jinks-Umstead and was trying to save her from
being subject to a RIF. Trial Testimony, June 27, 2003 at 24, 25, 50.

Inttially, we note that Ms. Jinks-Umstead is a 5-point Vietnam era veteran who would receive
additional credit for her Veteran’s status if there were to be a RIF of 1102's. Plaintiff would be the
last to go.

Second, plaintiff specifically requested documents addressing this issue in her Request # 46.
None were produced and the Navy represented that “defendant is not aware of any mock reductions
in force in EFACHES.”? Since the documents requested were never produced, the Navy should not
be allowed to introduce oral testimony on this issue.

Third, the testimony was misleading and confusing because it appears that Holleran sought

to persuade the jury that she was acting in the best interests of plaintiff. Even if this testimony were

 

2 The Navy could introduce testimony from the person giving the order not to hire

in the 1102 job series, but the Navy produced no such testimony at the first trial. We submit that
the Navy did not produce at such testimony at the first trial because no such order was ever
issued.

» Defendant’s Responses to Plaintiff's Second Request for Production of
Documents, Docket #280.

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otherwise admissible, it should be excluded under Rule 403 because Holleran plainly did not act in
the best interests of plaintiff.
E. Organizational Realignment

The Navy also presented evidence about the merging of the Navy’s Public Works Center into
EFACHES, as if this merger explained the actions taken against plaintiff. While there was such a
merger involving Public Works and EFACHES, the merger did not take place until fiscal year 2000
and was not effective until October 10, 1999, after the relevant time period. Accordingly, evidence
regarding the merger should be excluded on grounds ofrelevance. Alternatively, evidence regarding
the merger should be excluded under Rule 403 because discussion ofa future merger would confuse
the jury.”4

F. Possible Position in Labor Relations

In an effort to persuade the jury that EFACHES was looking out for the welfare and interests
of plaintiff, Holleran testified about consideration of assigning plaintiff to work with Diane Truman
in Labor Relations, a position outside of plaintiff's job series of 1102 contracts specialist.

The Court should exclude this testimony on grounds of relevance because the discussions
regarding the position with Diane Truman occurred in the fall of 1999, after plaintiff had filed suit
and outside of the relevant time period. Whether there was a position in labor relations to which the
Navy might have assigned plaintiff is also irrelevant to the issues for trial, which are the removal of
1102 contracts specialists from Carderock and plaintiff’s loss of her supervisory position.

Alternatively, the Court should also exclude the testimony under Rule 403 because such testimony

 

“4 There was a separate reorganization into north and south divisions. Since

Holleran testified at her deposition that this did not affect those in the 1102 job serious,
testimony on this issue should also be excluded on grounds of relevant and under Rule 403.

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would confuse the jury.
G. Testimony Regarding a “Roll Up” of Carderock

Holleran testified at the first trial that there was a decision made to “roll up” [or consolidate]
the Carderock office into Bethesda. Trial Transcript, June 27, 2003 at 90, 109. Since the Navy
never produced any admissible documents that anyone at the Navy had issued such an order,
allowing the Navy to introduce such testimony at trial would reward the Navy for its failure to make
Initial Disclosure and for its discovery abuses.

Allowing such testimony at trial violates the Best Evidence Rule.

Allowing such testimony from Holleran or Schnakenberg on this issue would be hearsay
because neither person had the authority to authorize the consolidation of the Carderock office into
Bethesda.

Allowing testimony regarding an alleged decision to “roll up” the Carderock office into
Bethesda without providing any time frame should also be excluded under Rule 403.

H. Testimony About Sheer

The Navy even introduced testimony that a Navy contracts specialist named Sheer accepted
a downgrade as part of the Navy’s effort to paint a portrait of an agency where the 1102 contract
specialists were subject to the same pressure to reorganize as the rest of the Navy. June 27, 2003
Trial Transcript at 91. However, Sheer was not part of EFACHES and was a member of the Public
Works Department. Thus testimony regarding Sheer is irrelevant and, even if marginally relevant,

should be excluded under Rule 403 because such testimony would confuse the jury.”

 

25

If Sheer accepted the downgrade after October 10, 1999, this testimony should
also be excluded because it is after the relevant time period.

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CONCLUSION
WHEREFORE, plaintiff respectfully requests the defendant be barred from introducing the
evidence described above because allowing such evidence would reward the Navy for its failure to
make Initial Disclosures and for its discovery abuses. Further, the evidence described above is
irrelevant, inconsistent with and/or unsupported by missing documents that the Navy was required
to preserve and produce that were never produced. A draft Order is attached.

Respectfully submitted,

 

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